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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BECKLEY

UNITED STATES OF AMERICA


v.                                        CRIMINAL NO. 5:17-00113-005


JAMES RODNEY STAPLES

                       MEMORANDUM OPINION AND ORDER

     Pending before the court is defendant’s motion for his

release from custody to attend the funeral of his grandmother.

(ECF No. 448).       The aforementioned funeral is scheduled for 12:00

p.m., on Friday, January 5, 2018, and the motion for release was

filed less than 24 hours before the funeral.            The court rarely

grants these types of motions, in large part because of the

considerable hardship such a request places on the United States

Marshals Service.      In this case, because of the timing of

defendant’s motion, the Marshals Service would be even more

inconvenienced than usual were such a request to be granted.

Furthermore, the late filing of the motion, along with

defendant’s failure to confer with either the Assistant United

States Attorney or the Probation Office, makes it impossible for

the court to determine in a timely manner: 1) whether defendant

is a suitable candidate for release under these circumstances;

and 2) whether the Marshals Service could even accommodate the

request on such short notice.        Based on the foregoing, the court

hereby DENIES defendant’s motion.
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     The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of record, the Probation Office of

this court, and the United States Marshal for the Southern

District of West Virginia.

     It is SO ORDERED this 4th day of January, 2018.

                                    ENTER:



                                    David A. Faber
                                    Senior United States District Judge




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